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                UNITED STATES DISTRICT COURT

                        DISTRICT OF OREGON

                        PORTLAND DIVISION


MEDHI SEIFIAN,                      Case No. 3:17-cv-1879
individually and on
behalf of all others,               CLASS ACTION
                                    ALLEGATION
                    Plaintiff,      COMPLAINT

      v.                            Negligence

UBER TECHNOLOGIES,                  28 U.S.C. § 1332
INC.,
                                    Demand for Jury Trial
                    Defendant.




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                                   1.

                          THE PARTIES

      Defendant Uber Technologies, Inc. is a billion-dollar global

transportation technology company and a Delaware corporation. On

November 21, 2017, Uber announced for the first time that a data

breach in late 2016 compromised the personal information of 57 million

Uber users. Rather than promptly notify the public of its breach as

Oregon law required, Uber instead attempted to pay its hackers

$100,000 in hopes of keeping the breach under wraps.

                                   2.

      Plaintiff Medhi Seifian is an individual consumer residing in the

Portland, Oregon area who provided his personal information to Uber

in order to purchase its transportation services in 2016. He later had

his information compromised by Uber, causing him identity theft and

credit harm. He could have prevented this harm had Uber notified him

that his information was compromised in “the most expeditious manner

possible” as required by Oregon law. He is not aware that his personal

information has been compromised by any source other than Uber.




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                                   3.

                   JURISDICTION AND VENUE

      This Court has jurisdiction under 28 U.S.C. § 1332 because the

parties are citizens of different states and the amount in controversy

for the Oregon class exceeds $240 million exclusive of penalties. Venue

is proper under 28 U.S.C. § 1391 because the bulk of Oregon consumers

with personal information stored by Uber live in the Portland area.

                                   4.

                    FACTUAL ALLEGATIONS

      Plaintiff files this complaint as a class action on behalf of an

estimated 500,000 Oregon consumers harmed by Uber’s failure to

adequately protect their personal information. This complaint requests

Uber provide fair compensation in an amount that will ensure every

consumer harmed by its data breach will not be out-of-pocket for the

costs of independent third-party credit repair and monitoring services.

This complaint’s allegations are based on personal knowledge as to

plaintiff’s conduct and made on information and belief as to the acts of

others.

                                   5.

      Throughout 2015 and 2016, Uber collected and stored personal

and credit information from plaintiff and thousands of other Oregon

consumers who used its transportation services.



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                                    6.

      Uber owed a legal duty to plaintiff to use reasonable care to

protect his personal information from unauthorized access by third

parties. Uber knew that its failure to protect plaintiff’s personal

information from unauthorized access would cause serious risks of

credit harm and identify theft for years to come.

                                    7.

      On November 21, 2017, Uber announced for the first time that

its data system had been hacked in late 2016 by unauthorized third

parties, subjecting plaintiff to credit harm and identify theft and other

economic losses. Uber unjustifiably failed to timely notify consumers of

its data breach in the most expeditious manner possible, and only chose

to notify consumers of its breach over a year later, after the damage to

their credit was already done.

                                    8.

      In an attempt to increase profits, Uber negligently failed to

maintain adequate technological safeguards to protect plaintiff’s

information from unauthorized access by hackers. Hackers targeted

plaintiff’s information for the sole purpose of using the information to

commit fraud. Uber knew and should have known that failure to

maintain adequate technological safeguards would eventually result in

a massive data breach. Uber could have and should have substantially



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increased the amount of money it spent to protect against cyber-attacks

but chose not to. Consumers should not have to bear the expense caused

by Uber’s negligent failure to safeguard their personal information

from cyber-attackers.

                                   9.

      As a direct result of Uber’s negligence as alleged in this

complaint, plaintiff suffered economic losses including the actual loss

of his personal information to hackers seeking to use his information

for fraudulent illegal purposes, and economic losses including lost

credit opportunities, and suffered economic loss, confusion and wasted

time monitoring and responding to fraudulent credit activities. The

economic losses Uber caused consumers throughout Oregon could have

been mitigated had Uber notified them that their information was

compromised in the most expeditious manner possible. Uber’s failure

to timely notify Oregon consumers of its data breach also constituted

negligence.




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                                    10.

                         CLASS ALLEGATIONS

      Plaintiff files this complaint as an Oregon class action lawsuit.

The class consists of:

   1. Consumers like plaintiff who reside in Oregon and who had

      personal information collected and stored by Uber prior to

      October 1, 2016, and who were subject to economic losses

      including risk of data loss and credit harm and identity theft as

      a result of Uber’s negligent data breach, and who could have

      prevented or mitigated their harm had Uber notified them that

      their information was compromised in the most expeditious

      manner possible.

                                    11.

      Excluded from the class are all attorneys for the class, officers

and members of Uber, including officers and members of any entity

with an ownership interest in Uber, any judge who sits on the case, and

all jurors and alternate jurors who sit on the case.

                                    12.

      The exact number of aggrieved Oregon consumers, estimated at

500,000, can be determined based on Uber’s customer data.




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                                    13.

      Every aggrieved consumer suffered economic losses as alleged in

this complaint directly and proximately caused by Uber’s negligent

failure to adequately protect its database from unauthorized access by

third-party hackers and failure to notify consumers that their

information was compromised in the most expeditious manner possible.

                                    14.

      The class is so numerous that joinder is impracticable. Upon

information and belief, the Oregon class includes 500,000 consumers

based on Oregon’s population and Uber’s initial estimate that 57

million of its users were affected by the breach.

                                    15.

      Common questions of fact and law predominate over any

questions affecting only individual class members. Common questions

include whether plaintiff and class members are entitled to equitable

relief, whether Uber acted negligently, and whether plaintiff and class

members are entitled to recover money damages.

                                    16.

      Plaintiff’s claims are typical of the claims of the class because

each suffered risk of loss or credit harm or identity theft or economic

losses caused by Uber’s negligent failure to safeguard their personal

information, the injuries suffered by plaintiff and the class members



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are identical (i.e. the costs to monitor and repair their credit through a

third-party service for at least 24 months, the amounts of economic

losses caused by identity theft and credit harm and unauthorized use),

and plaintiff’s claim for relief is based upon the same legal theories as

are the claims of the other class members. Plaintiff will fairly and

adequately protect and represent the interests of the class because his

claim is typical of the claims of the class, he is represented by nationally

known and locally respected attorneys who have experience handling

class action litigation and consumer protection cases who are qualified

and competent, and who will vigorously prosecute this litigation, and

their interests are not antagonistic or in conflict with the interests of

the class.

                                      17.

      A class action is superior to other methods for fair and efficient

adjudication of this case because common questions of law and fact

predominate over other factors affecting only individual members, as

far as plaintiff knows, no class action that purports to include

consumers protected by Oregon’s data breach notification law suffering

the same injury has been commenced in Oregon, individual class

members have little interest in controlling the litigation, due to the

high cost of actions, the relatively small amounts of damages, and

because plaintiff and his attorneys will vigorously pursue the claims.



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The forum is desirable because the bulk of consumers in Oregon who

suffered injury caused by Uber’s negligence reside in the Portland

metropolitan area. A class action will be an efficient method of

adjudicating the claims of the class members who have suffered

relatively small damages, as a result of the same conduct by Uber. In

the aggregate, class members have claims for relief that are significant

in scope relative to the expense of litigation. The availability of Uber’s

customer data will facilitate proof of class claims, processing class

claims, and distributions of any recoveries.




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                                     18.

                     CLASS CLAIM FOR RELIEF

                             NEGLIGENCE

        	As alleged in this complaint, Uber undertook care of personal

information belonging to plaintiff and the putative Oregon class, then

breached its legal duty by failing to maintain adequate technological

safeguards, falling below the standard of care in the technological

industry, directly and proximately causing foreseeable risk of data loss

and credit harm and identity theft and other economic losses, in

amounts to be decided by the jury. Uber’s failure to comply with laws

requiring it to notify consumers of its data breach in the most

expeditious manner possible constituted negligence per se.

                                     19.

        Plaintiff and the Oregon class are entitled to equitable relief in

the form of an accounting of exactly how their personal information was

accessed without authorization by third parties, restitution, and unless

agreed upon by Uber, an order to preserve all documents and

information (and electronically stored information) pertaining to this

case.

                                     20.

        Demand for jury trial.




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                        PRAYER FOR RELIEF

        Plaintiff seeks relief for himself and the proposed class as

follows:


     A. Unless agreed upon by Uber, an order to preserve all documents

        and   information    (and    electronically   stored    information)

        pertaining to this case,

     B. An order certifying this matter as a class action,

     C. Judgment against Uber for fair compensation in an amount to be

        decided by the jury, and costs,

     D. And other relief the Court deems necessary.


November 22, 2017

                                    RESPECTFULLY FILED,

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